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                                            Douglas C. Palmer
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                                             /            Bowens
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                                             Douglas C. Palmer


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